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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION



NANTY FREDERICK, et al.,
               Plaintiffs,                                CIVIL ACTION FILE

vs.                                                       NO. 1:16-cv-721-WSD

APOGEE SECURITY SERVICES LLC,
              Defendant.


                                      JUDGMENT

       This action having come before the Court, Honorable William S. Duffey, Jr., United

States District Judge on the Court’s Order directing Plaintiffs to show cause why this case

should not be dismissed for failure to prosecute. Plaintiffs, having failed to comply, it is

       Ordered and Adjudged that the action be dismissed without prejudice for failure

to prosecute pursuant to Local Rule 41.3(3) of this Court and for failure to comply with a

lawful order of the Court pursuant to Local Rule 41.3(A)(2).

        Dated at Atlanta, Georgia, this 26th day of October, 2016.



                                                          JAMES N. HATTEN
                                                          CLERK OF COURT


                                                    By:   s/D. McGoldrick
                                                          Deputy Clerk

Prepared, Filed, and Entered
in the Clerk’s Office
October 26, 2016
James N. Hatten
Clerk of Court

By: s/D. McGoldrick
      Deputy Clerk
